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RICKY D ADAMS iii wis iiisi°iii€ ClOU.M
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Plaintiff,
v. No. 03-2155 Ml/An

CITY OF MEMPHIS,

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Defendant.

 

ORDER DENYING DEFENDANT'S RENEWED MDTION FOR SUMMARY JUDGMENT

 

Before the Court is the Renewed Motion for Summary Judgment
of Defendant City of Memphis, filed April 20, 2005.l Plaintiff
responded in opposition on May 20, 2005. For the following
reasons, Defendant’s motion is DENIED.

The instant case arises from Plaintiff Ricky Adams’s

application for and rejection from a probationary position as a

 

1 Defendant originally moved for summary judgment on March
5, 2004, to which Plaintiff responded in opposition on April 26,
2004. On January 31, 2005, Defendant filed a Supplemental
Memorandum of Facts and Law in Support of Defendant City of
Memphis' Motion for Summary Judgment. On February 25, 2005,
Plaintiff filed a supplemental response to Defendant's motion for
summary judgment. 0n March ll, 2005, the Court denied
Defendant’s original motion for summary judgment, without
prejudice, pursuant to the Soldiers and Sailors Relief Act, 50
App. U.S.C. § 521, because Plaintiff was then serving a tour of
active duty with the United States Navy in Iraq. (Order Denying
Defendant’s Motion for Summary Judgment Without Prejudice, March
ll, 2005 (Docket No. 93).) Upon Plaintiff’s return from active
duty, Defendant renewed its motion in accordance with the Court’s
March ll, 2005, order. The Court has considered the parties'
arguments in all of the above-mentioned submissions.

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firefighter/paramedic with the Memphis Fire Training Academy.
Plaintiff contends that Defendant City of Memphis discriminated
against him in violation of the Americans With Disabilities Act,
42 U.S.C. § lZlOl et seq. (the “ADA”) because Defendant regarded
him as disabled due to a color vision deficiency and therefore
failed to hire him.

I. BACKGROUND AND RELEVLNT FACTS

In July of 1999, Plaintiff applied for a probationary
position as a firefighter/paramedic with the Memphis Fire
Training Academy. Plaintiff was offered a position in the April,
2001, training class, contingent upon his passing certain medical
screening tests. Those medical screening tests included a color
vision test. lt is undisputed that Plaintiff failed the color
vision test, although he passed other vision tests.2

According to Defendant, if an applicant does not pass the

color vision test, the applicant is required to see a specialist

 

2 Plaintiff admits that he has a genetic color vision
deficiency, however, he contends that it has not disabled him
from driving an ambulance safely at high speed, working as a
paramedic, passing a-hazardous materials recognition course,
passing a firefighter training course and earning a firefighter
certification from the State of Missouri. (Pl.'s May 20, 2005,
Supp’l Resp. to Def.’s Mot. for Summ. J. at ll.) Plaintiff also
contends that his color vision defect does not preclude him from
performing the essential job tasks of a firefighter, and that a
national standard of medical requirements for firefighters does
not list color vision deficiency as a condition that prevents a
person from performing fire-fighting operations.

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to determine the type of Color vision deficiency involved.3 The
applicant must then return to the medical screening process with
a diagnosis before further testing can be completed. If the
color vision deficiency can be corrected with proper lenses, then
the applicant is allowed to progress in the selection process.
However, no applicant is allowed to progress if he or she fails
the color vision test and does not follow the aforementioned
procedure. Plaintiff's failure to complete the medical
examination therefore made him ineligible to progress in the
selection process.
Subseguent to his medical examination, Plaintiff was sent a
letter dated June 5, 2001, that indicates, in relevant part:
The purpose of this correspondence is to confirm the
reason that you did not progress in the selection
process for Fire Recruit/Paramedic Firefighter-
Probationary with the City of Memphis.
As you are aware, the results of you [sic] pre-
employment medical examination indicated that you
failed the color vision test.
If your medical condition is treatable/correctable, and
you have sought medical attention for this condition,
please provide documentation from your physician as to
the outcome or prognosis.

(Attached as unnumbered exhibit to Def.'s January 31, 2005,

Supp'l Mem. of Facts and Law in Supp. of Def. City of Memphis'

 

3 Plaintiff contends that this procedure was gratuitous, in
his case, because the fact that he passed a general visual acuity
test would establish the type of color vision deficiency that he
had - which is a minor type that he contends would not prevent
him from doing the job for which he applied.

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[sic] Mot. for Summ. J.) lt is undisputed that Plaintiff did not
attempt to return to the medical screening process with glasses
or contact lenses to be reassessed, that Plaintiff did not seek a
second opinion regarding his color vision deficiency, and that
Plaintiff did not obtain corrective lenses for his color vision
deficiency. However, Plaintiff contends that his color vision
deficiency is neither treatable nor correctable.

Plaintiff also contends that candidates who pass the medical
examination are notified immediately by telephone and scheduled
to attend a training class. (Pl.'s Supp'l Appx. Subm. in Supp. of
Pl.’s Supp'l Resp. to Def.’s Mot. for Summ. J., Ex. 6 (Dep. of
Gwen Willingham) at 51.) However, candidates who fail the
medical examination are informed by mail only after candidates
who pass the medical exam are notified and hired, in some cases
after the training class has already started. (ld., Ex. 6 at 50-
52.) Plaintiff contends that he received the June 5, 2001,
letter after the Memphis Firefighter Academy class for which he
was slated to attend had started. (Id., Ex. 7 (Dep. of Ricky
Adams) at 66.}

II. STANDARD OF REVIEW
Under Federal Rule of Civil Procedure 56(0), summary

judgment is proper “if the pleadings, depositions, answers to

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interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrettr 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLaughlin, 874 F.Zd 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”
Kochins v. Linden-Alimak. Inc., 799 F.2d 1128, 1133 (6th Cir.
1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio
§grpL, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment,r the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ.
P. 56(e); see also Abeita v. TransAmerica Mailings, Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial “if the evidence [presented by the nonmoving
party] is such that a reasonable jury could return a verdict for
the nonmoving party.” Anderson v. Liberty Lobbv, Inc., 477 U.S.

242, 248 (1986). In essence, the inquiry is “whether the

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evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” ld; at 251-52.
III . ANALYSIS

Defendant moves for summary judgment regarding Plaintiff's
claim of discrimination under the ADA. A plaintiff may support a
claim of discrimination under the ADA with either direct or
circumstantial evidence of discrimination. Where a plaintiff
points to circumstantial evidence of discrimination, his claim is
analyzed under the framework for deciding discrimination cases
set forth in McDonnell Dou las Cor . v. Green, 411 U.S. 792, 802
(1973). Kocsis v. Multi-Care Mgt., 97 F.3d 876, 882-83 (6th Cir.
1996} (citations omitted).

Under that framework, a plaintiff must first establish a
prima facie case of disability discrimination by proving that:
(1) he was “disabled” within the meaning of the Act; (2) he was
qualified for the position; (3) he suffered an adverse employment
decision with regard to the position in question; and (4) a non-
disabled person replaced him or was selected for the position
that the disabled person had sought. Kocsis, 97 F.3d at 882-83
(citations omitted). In order to prove that he is disabled under
the ADA, a plaintiff must show that he (1) has a physical or
mental impairment that substantially limits one of more of his

major life activities; or (2) that he has a record of such an

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impairment; or (3) that he is regarded as having such an
impairment. §e§ 42 U.S.C. § 12102(2).

If the plaintiff establishes the elements for a prima facie
case, the burden then shifts to the defendant to set forth a
legitimate, nondiscriminatory reason for the adverse employment
action taken against the plaintiff. Kocsis, 97 F.3d at 882-83
(citation omitted). If the defendant carries that burden of
production, then the plaintiff must then prove that the
defendant's proffered reasons were not its true reasons, but were
merely a pretext for illegal discrimination. ld; (citation
omitted).

ln order to show that the Defendant’s reasons were
pretextual, a plaintiff must prove: (1) that the proffered
reasons had no basis in fact; or (2) that the proffered reasons
did not actually motivate the action; or (3) that they were
insufficient to motivate the action. ld; (citations omitted). At
all times, the plaintiff bears the ultimate burden of persuading
the trier of fact that illegal discrimination took place. ld;
(citation omitted).

Alternatively, a plaintiff may establish a prima facie case
of discrimination by presenting “direct evidence of
discriminatory intent.” Nquven v. City of Cleveland, 229 F.3d
559, 563 (6th Cir. 2000)(citing Price Waterhouse v. Hopkins, 490

U.S. 228 (1989)). “In direct evidence cases, once a plaintiff

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shows that the prohibited classification played a motivating part
in the employment decision, the burden of both production and
persuasion shifts to the employer to prove that it would have
[taken the adverse employment action} even if it had not been
motivated by impermissible discrimination.” ld; (citations
omitted).

A. Prima icie Case

Plaintiff contends that Defendant regarded him as disabled.
Persons who have impairments that are not substantially limiting,
but who are regarded by their employer as being substantially
limited, are considered “disabled” for the purposes of the ADA.
Kocsis, 97 F.3d at 884. “That definition of disability is
designed to protect against erroneous stereotypes some employers
hold regarding certain physical or mental impairments that are
not substantially limiting in fact.” id4 at 885 (citation and
internal quotation marks omitted).

To establish a prima facie case that he was regarded as
disabled under either the McDonnell Douglas burden shifting
scheme or the direct evidence scheme, Plaintiff must show that
Defendant treated him as having an impairment that substantially
limits one or more of his major life activities, that he is

otherwise qualified for the position for which he applied,4 and

 

4 The parties do not dispute whether Plaintiff was otherwise
qualified for the position for which he applied.

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that he was denied employment because Defendant regarded him as
disabled. Sullivan v. River Vallev School Dist., 197 F.3d 804,
810 (6th Cir. 1999).5

Defendant chiefly contends that Plaintiff was not hired
because he did not follow proper procedures after having failed
the color vision test, and therefore that Plaintiff cannot prove
that he was denied employment because Defendant regarded him as
disabled. However, Plaintiff points to evidence in the record to
show that compliance with Defendant’s requirements would have
been futile. Specifically, Plaintiff points to evidence that he
received notice that he had failed the color vision test after
the April, 2001, training class had already been selected, that
Defendant’s general policy is to notify those who fail such a
test after all of those who passed the test have been notified
that they passed and seated for the training class, and that his
color vision impairment is neither treatable nor correctable. If
those assertions are proven to be true, then Plaintiff's
compliance with Defendant’s requirements would have been futile.
Accordingly, a genuine issue of material fact exists regarding
whether Plaintiff was denied employment because Defendant

regarded him as disabled.

 

5 Plaintiff contends that Defendant's June 5, 2001, letter
is direct evidence of discriminatory intent. Defendant's intent
would only be discriminatory, however, if Plaintiff is able to
prove that Defendant regarded him as disabled under the ADA.

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The parties also dispute whether Defendant treated Plaintiff
as having an impairment that substantially limits one or more of
his major life activities. There are two ways by which
individuals may be regarded by a covered entity as being disabled
for purposes of the ADA: a mistaken belief that a person has a
physical impairment that substantially limits one or more major
life activities, or a mistaken belief that an actualr nonlimiting
impairment substantially limits one or more major life
activities. Cotter v. Ajilon Servs., 287 F.3d 593, 599 (6th Cir.
2002)(citing Sutton v. United Air Lines, 527 U.S. 471, 489
(1999)); Egual Emblovment Obnortunitv Comm’n v. Northwest
Airlinesl lnc., 246 F.Supp.2d 916, 924 (W.D. Tenn. 2002}.

A plaintiff must show that any perceived impairment is
regarded by the employer as a substantial limitation on a major
life activity. Kocsis, 97 F.3d at 885 (citations omitted).6
Plaintiff contends that Defendant regarded him as substantially
limited in the major life activities of seeing and driving.

(Pl.’s April 26, 2004, Resp. to Def.’s Mot. for Summ. J. at 14.)

 

6 Regarding major life activities other than working, an

individual is “substantially limited” when he is:
{i) Unable to perform a major life activity that the
average person in the general population can perform;
or (ii) Significantly restricted as to the condition,
manner or duration under which an individual can
perform a particular major life activity as compared to
the condition, manner, or duration under which the
average person in the general population can perform
that same major life activity.

Kocsis, 97 F.3d at 885 (citing 29 C.F.R. § 1630.2(j)(1)).

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Seeing is a major life activity. §ee Black v. Roadway Express,
297 F.Bd 445, 449 (6th Cir. 2002)(citing 29 C.F.R. § 1630.2(i)).7
Having reviewed the record and the parties' submissions, the
Court finds that Plaintiff has pointed to sufficient evidence in
the record to create genuine issues of material fact regarding
whether Defendant perceived Plaintiff as substantially limited in
the major life activity of seeing. Accordingly, genuine issues
of material fact exist regarding whether Plaintiff has
established a prima facie case of disability discrimination.

B. Legitimate Nondiscriminatory Reason

Defendant has articulated a legitimate nondiscriminatory
reason for failing to hire Plaintiff - namely, that Plaintiff did
not to follow proper procedures after having failed the color
vision test. However, as the Court has noted, Plaintiff has
pointed to evidence in the record to show that following those
procedures would have been futile. That same evidence, if proven
true, would support Plaintiff's contention that Defendant’s
reasons were pretext for discrimination. Accordingly, genuine

issues of material fact exist regarding whether Defendant had a

 

7 Although the inability to drive might result from a
substantial limitation on other life activities, driving in and
of itself is not a major life activity. See Felix v. New York
City Transit Auth., 324 F.3d 102, 106 (2nd Cir. 2003)(finding
driving is not considered a major life activity).

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legitimate nondiscriminatory reason for not hiring Plaintiff, and
whether that reason was pretext for discrimination.
IV. CONCLUSION

For the reasons stated, Defendant’s motion for summary

judgment is DENIED.

SO ORDERED this rr day of July, 2005.

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P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 111 in
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